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                         UN ITED STA TES DISTRICT COUR T
                         SOUTHERN DISTRICT OF FLORIDA

                      CA SE N O .19-24153-CIV -IU N G/BECERM

  LISA GU AR IN O,

        Plaintiff,


                                               OR DER SETTIN G
  R OYAL CARIBBEA N CRUISES,              TRIA L:APR IL 26,2021
  LTD.,a Liberian Corporation doing       PRE-TRIAE:FEBRUARY 5,2021
  businessasRoyalCaribbean                olscovlRv DEADL> E:DECkM BER 2.2020
  International,                          & MoTlox D>:AOt,INE:PECEMBER 7,ie20

        D efendant.
                                      /

        IT IS ORD ERED and AD JUD GED thatthe above-styled cause isherçby setfor

  trialonthetwo-week trialcalendarcomm encing A pril26,2021,at9:00 a.m .,atthe

  Jam esLaw rence K ing FederalJustièeBuilding,99 N .E.4th Street,Eleventh Floor,

  Courtroom #2,M iam i,Florida.

                                  CA LENDA R CA LL

  In orderto m ake surethatcasesseton thiscalendararecom pletely ready fortfialand that

  a11m atterswhich m ightbe a cause ofdelay ofthe trialhavebeen ruled upop,the Court

  hereby schedulesacalendarcallforA pril22,2021,at10:00 a.m .,attheJames

  Lawrence K ing FederalJustièe Building,99 N .E.4th Street,Eleventh Floor,Courtroom

  //2,M iami5Florida.AllDefendants,whetheri'
                                           npre-trialcustody orreleased on bqnd;

  m ustbe presentforthis'
                        calendarcall.
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        Underexisting policiesand agreem entsbetw een the state and federalcourtsof

  Florida,th'
            ejudgewhoentersthefirstwrittenorderschedtllingacasefortrialbnadate
  sethaspriority overthe service ofthe attorney so scheduled forthe date set. See

  Krasnow v.Navarro,909F.2d451(J1thCir.1990).
        Itshallbethedutyoftheattorneyshereinsettoensurethatnootherjudge
  schedulesthem for atrialthatim pactsupon orconflictsw ith the date setforth above. If

  anycopngelreceives'rawrittennoticeofatrialfrom anothe
        '
        .           .                                )'
                                                      .
                                                        rjudge,in e
                                                                  'itherstateor
                        ..



  federalcourt,thatin any w ay conflictswith thistrialscheduled setting,itisthe obligatioh

  ofthatattorneytonotifythatjudgeimmediatelysothatthejudgemayreschedulèhisor
  hercalendar,thus leaving counselcontlictfree-forthis càse.

        Anyprivateajreement,suggestedorproposedRule16schedulingconference
  agreem entsbetween counsel,Rule 16 scheduling orderorothercourtordersattem pting to

  setdates ordeédlines contrary to this Orderare hereby stricken and declared void.

        Theabove-styled causeishereby setfornnalpre-trialconferenceon February

  5,2021,at11:15 a.m .,attheJam esLawrenceKingFederalJusticeBuilding,99N .E.

  4th Street,Eleventh Floor,Courtroom #2,M iam i,Florida.

             REFERENCE OF ALL PFETIUAL DISCOVERY M ATTERS
                TO M A G ISTR ATE JUDG E JA CO UELINE BEC ER R A

  Pursuantto28U .S.C.j636andtheM agistrateRulesoftheLocalRulesoftheSouthern
  D istrictofFlorida,the above-captioned cause isreferred to United StatesM agistrate
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  JudgeJacqueline Becerrato take a11necessary and proper>ction asrequired by 1aw w ith

  respectto @ny and a11pretrialdiscovery m atters.A ny m otion affecting deadlinessetby

  the Court's Scheduling Orderis excluded from thisreferral,unlessspecitically referred

  by separate Order. ItisFURTITRR ORDERED thatthepartiesshallcomply w ith

  M agistrate JudgeJacquelineBecerra's discovery procedures.

                DISCO VERY AND M O TIO N PM CTICE DEAD LINES

  Pursuantto So.D .Fla.LocalRule Rule 16.1,thepartiesshallabideby the follow ing tim e

  schedule uilder.penalty ofdism issalorothersanctions:

               D ECEM BER 2,2020:DEADLINE FOR
               CO N DU CTIN G DISCO W RY . N o discovery w illbe
               perm itted afterthisdate,in orderthatthe partiesand the court
               have a11factsofrecord priorto the deadline for filing m otions
               and atprb-trialconference. M oreoker,theparties shall
               exchange expertwitnessreportsN O LATER TH AN 120
               D AY S priorto thepretrialconference.

               D E CEM BER 7,2020:DEADLINE FOR FILING ALL
               M O TIO NS. Pleading practice ends on this date exceptfora
               responseby opposing party and reply to response by m oving
               party. ALL M O TION S,IN CLUDING M OTIO N S IN
               LIM INE,SHALL BE FILED PRIOR TO THIS DATE.
               M otions forextension oftim e forrepliesand responses
               carmotbegrantedduetothelimited(30-day)timelimitfor
               the Court'sconsideration ofm otio'nsand responses filed on
               the lastday. A llunresolved m otionsw illbe considered and
               ruled upon atthepre-trialconference.

               TEN dayspriortoPTC:Oneattorney from each partyhavinj
               authority to enterinto stipulations and m ake adm issions shall
               m eettoprejareandfilethefinalpre-trialstipulation.
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              The attorneysm uststipulate to a çdstatem entofthe Case,''as
              required by the LocalRules ofthe Southern D istrictofFlorida.
              Itwillbeunacceptable forthe attorneysto draftseparate
               StatementsoftheCase(i.e.,onefortheplaintiff,oneforthe
               defendant),andthepre-trialsti'
                                            pulationwillbesubjeçtto
               rejectionbytheCourtfornon-compliance.A unilateral
               statem entofthe caseby one party isnotastipulation offacts
               ascontem plated by theRules. Thisisnottheplace forcounsel
               to m ake opening statem ents orclosing argum entsfortheir
               clients.Itisajointstipulation astotheissuesofthe case.
               JA NU M W 29,2021:DEADLINE FOR FILING PRE-
               TRIA L STIPU LA TION . Thepre-trialstipulation mustbe
               flledwith theClerk ofCourt(nightbox sling isnot
               atceptable).A courtesy copy ofthepre-trialstipulation shall
               beprovidedtoChambers.Chambersshallbenotitiedat(305)
               523-5105 ofany settlem entbetween the partiesby 4:30 p.fn.
               On thikdate.

               PR E-TR IAL C ON FER EN CE :The conference
               shallbe attended by atleastone ofthe attorneyswho w ill
               conductthetrialforeach ofthe partiesand by any
               unrepresented party. Ifthere are any unresolved pending
               m otions,counselm ustbe fully prepared to presentargum ent
               to the Courtand m ay expectthe Courtto rule on said m otions
               atthe fnalpre-trialconference.ltisthepurpose ofthe Court
               in setting thisschedule to have a11issuesresolved,w ith
               nothing förthe attorneyqto do between tlnalpre-trial
               conferehceandtrial,excepttosumm on andtopreparetheir
               w itnesses fortrial. ltelim inateslast-m inute m otion and
               discovery practicè requiring lawyersto respond frantically to
               noticesofdeposition and m otions.

        ThisOrder,establishing the deadlinesforcompletion ofm otion practice,

  discovery,and sling ofPretrialStipulation shallbe strictly followed by counsel,

  notwithstanding any LocalRuleorprivateagreementbetween counsel,any filed (or
  unfiled)proposedLocalRule 16scheduling deadlines,orany othercourtorderby other
                                             4
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  Judgesin unrelated caCes.

          D ON E and O RD ER ED in Cham bersattheJam esLaw renceK ing FederalJustice

  Building and united statescourthouse,M iam i,y'lorida,dqu d jht,ll'
                                                          .- . .    hday oroecember,

  2019.
                                                        &              w x
                                                       AW VENCE IUNG
                                                LTNI D STATECDISTRICT          GE
                                                SOUTIIERN DISTRICT OF FLORIDA

  CC:
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